Case 1:10-cv-02641-REB-MEH Document 2 Filed 11/01/10 USDC Colorado Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Judge Robert E. Blackburn

  Civil Case No. 10-cv-02641-REB-MEH

  BERLINDA TRUJILLO,

        Plaintiff,
  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

        Defendant.


           ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

  Blackburn, J.

        This matter comes before the Court, sua sponte.

        IT IS ORDERED that pursuant to 28 U.S.C. § 636(b)(1)(A)-(C), Fed. R. Civ. P. 72
  and D.C.COLO.LCivR 72.1C, the United States Magistrate is designated to conduct
  proceedings in this civil action as follows:

        (X)       Convene a scheduling conference under Fed. R. Civ. P. 16(b) and enter a
                  scheduling order meeting the requirements of D.C.COLO.LCivR 16.2.

        (X)       Conduct such status conferences and issue such orders necessary for
                  compliance with the scheduling order, including amendments or modifications
                  of the scheduling order upon a showing of good cause.

        (X)       Convene such settlement conferences and direct related procedures as may
                  facilitate resolution of this case.

        (X)       Hear and determine pretrial matters, as referred.

        (X)       Conduct a pretrial conference and enter a pretrial order.

       IT IS FURTHER ORDERED that parties and counsel shall be familiar and
  comply with the undersigned judge’s requirements www.cod.uscourts.gov.

        Dated November 1, 2010, at Denver, Colorado.

                                                      BY THE COURT:
